            Case 1:21-cr-00159-ABJ Document 31 Filed 04/05/21 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  :
                                          :
       v.                                 :
                                          :
CLEVELAND GROVER                          :       Criminal No. 1:21-CR-159-ABJ
MEREDITH, JR.                             :
                                          :
                                          :
                     Defendant.           :

     UNITED STATES OF AMERICA’S MOTION TO FILE UNDER SEAL
  GOVERNMENT’S SUPPLEMENTAL RESPONSE TO DEFENSE MOTION TO
REVOKE MAGISTRATE JUDGE’S ORDER OF DETENTION PENDING TRIAL AND
               TO SET NEW CONDITIONS OF RELEASE

       The United States of America hereby moves this Court for an order granting the

Government permission to file under seal its supplemental response to the Defense’s Motion to

Revoke Magistrate Judge’s Order of Detention Pending Trial and to Set New Conditions of

Release (ECF 19).



                                          Respectfully submitted,

                                          CHANNING D. PHILLIPS
                                          Acting United States Attorney
                                          DC Bar No. 415793


                                   By:    /s/ Anthony L. Franks
                                          ANTHONY L. FRANKS
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         Case 1:21-cr-00159-ABJ Document 31 Filed 04/05/21 Page 2 of 2




                                CERTIFICATE OF SERVICE


       On this 5th day of April 2021, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.

                                               /s/ Anthony L. Franks
                                               ANTHONY L. FRANKS
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